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 1                                                            The Honorable Robert S. Lasnik
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 7                        UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF WASHINGTON
 8
                                      AT SEATTLE
 9
10
      UNITED STATES OF AMERICA,                        NO. CR16-100 (RSL)
11
                             Plaintiff
                                                       ORDER TO SEAL
12
                            v.
13
      BINGHAM FOX,
14
                            Defendant.
15
16
            Having read the Government’s Notice of Fifth Amendment Concerns in the
17
     above-captioned case, which was filed under seal, and the Government=s Motion to Seal
18
19 requesting that its Notice be allowed to remain under seal,
20        It is hereby ORDERED that the Government’s Notice of Fifth Amendment

21 Concerns in this matter shall remain sealed.
22
23          DATED this 20th day of March, 2017.
24
25                                             A
26                                             Robert S. Lasnik
                                               United States District Judge
27
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     ORDER TO SEAL
     Bingham Fox/CR16-100 (RSL) - Page 1
